Case 1:18-cv-01790-JMS-DLP Document 9 Filed 09/21/18 Page 1 of 1 PageID #: 25



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

ROBIN CATER,                                          )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )       No. 1:18-cv-01790-JMS-DLP
                                                      )
LOVELY NAILS, INC.,                                   )
                                                      )
                              Defendant.              )

                       Order Dismissing Action for Failure to Prosecute

       Plaintiff Robin Cater, proceeding pro se and in forma pauperis, commenced this action on

June 12, 2018. Since that time mail to Ms. Cater has been returned to the Court as undeliverable,

and Ms. Cater has not provided an updated address. More than three months has passed since the

filing of the lawsuit, and the only contact Ms. Cater has had with the Court is the initial filing of

pleadings and motions to commence the action.

       Ms. Cater has moved, has not advised the Court of a change of address, and has not done

anything else to move her lawsuit forward. She has abandoned this action.

       Therefore, pursuant to Fed. R. Civ. P. 41(b), this action is dismissed without prejudice for

failure to prosecute. The pending motion for permission for electronic case filing, dkt. [3], is

denied as moot. Judgment consistent with this Order shall now enter.

       IT IS SO ORDERED.



                Date: 9/21/2018

Distribution:

Robin Cater
3891 Carwinion Way
Carmel, IN 46032
